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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         *
                                                 *
         v.                                      *
                                                 *               Criminal No. TDC-20-33
BRIAN MARK LEMLEY, JR.,                          *
PATRIK JORDAN MATHEWS, and                       *
WILLIAM GARFIELD BILBROUGH                       *
IV                                               *
                                                 *
*    *        *    *   *    *     *     *    *           *   *   *    *   *    *     *     *     *

                    BRIAN MARK LEMLEY’S MOTION FOR LEAVE TO
                  AMEND, SUPPLEMENT, OR FILE ADDITIONAL MOTIONS

         Defendant Brian Mark Lemley, Jr., through undersigned counsel, hereby moves this

Honorable Court for leave to amend, supplement, or file additional motions.

         Mr. Lemley is charged by indictment with transporting and harboring an alien, transporting

a machine gun in interstate commerce, disposing of a firearm to an illegal alien, aiding and abetting

in possession of a firearm by an alien, and transporting a firearm and ammunition in interstate

commerce with the intent to commit a felony. Dkt. No. 40.

         Today Mr. Lemley filed a pre-trial motion to suppress evidence stemming from unlawful

warrant searches. Investigation of this case is ongoing, as is the receipt of discovery, which is

voluminous. Accordingly, the undersigned respectfully requests leave to file any additional

motions that may prove appropriate based upon ongoing investigation and discovery disclosures,

whether or not such motion is mandatory under Rule 12 of the Federal Rules of Criminal

Procedure.

         WHEREFORE, Mr. Lemley requests that this Honorable Court allow him to amend,

supplement, or file additional motions as necessary.




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                            Respectfully submitted,

                            JAMES WYDA
                            Federal Public Defender

                                         /s/
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